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                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION


IN RE:                                       §
                                             §                  CASE NO. 21-60280
CORRY DAVIS MARKETING, INC.,                 §
                                             §
         DEBTOR.                             §
                                             §                  CHAPTER 11
542 East Hwy. 64                             §
Canton, Texas 75103                          §
EIN: xx-xxx8498                              §

          REQUEST FOR EMERGENCY HEARING ON MOTION FOR
             AUTHORITY TO CONTINUE INSURANCE PREMIUM
   FINANCE AGREEMENT WITH ASSOCIATED RISK MANAGERS FINANCE CO.

         Corry Davis Marketing, Inc., Debtor herein, presents this Request for Emergency

Hearing on Motion for Authority to Continue Insurance Premium Finance Agreement

with Associated Risk Managers Finance Company, (“the Motion”) and would show to

the Court as follows:

         1.    Debtor requests that the Court conduct an emergency hearing on its

Motion for Authority to Continue Insurance Premium Finance Agreement with

Associated Risk Managers Finance Company and to shorten the time for notice and

hearing of this Motion.

         2.    Debtor’s monthly payments on the premium finance agreement by which it

purchased a casualty property insurance policy will become due and payable before the

end of the normal 21-day response period for the Motion, and the grace period for

payment a payment due on July 15, 2021 under the premium finance agreements will

have expired as well by the end of the response period. Without payment, the policy

will be cancelled to the detriment of the Debtor and its creditors.
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         3.       Debtor recognizes the need to provide reasonable notice of this request

and the emergency hearing on this request to all interested persons, and the Debtor

and its counsel agree to notify all creditors of this request and the date scheduled for

any emergency hearing by such notice as the Court deems necessary and appropriate.

         WHEREFORE, Debtor requests that the Court issue its Order setting a hearing

on the Motion on an emergency basis before July 28, 2021.

                                                   Respectfully submitted,

                                                   LAW OFFICES OF MICHAEL E. GAZETTE



                                                   By: /s/ Michael E. Gazette
                                                         Michael E. Gazette
                                                         State Bar No. 07784500

                                                   100 East Ferguson Street, Suite 1000
                                                   Tyler, Texas 75702-5706
                                                   (903) 596-9911 Telephone
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                                                   Email: megazette@suddenlinkmail.com

                                                   ATTORNEY FOR DEBTOR/APPLICANT


                                         CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing Request for
Emergency Hearing on Motion for Authority to Continue Insurance Premium Finance
Agreement has been sent to the United States Trustee, 110 N. College, Suite 300,
Tyler, Texas 75702, and all parties on the attached mailing matrix via electronic means
or First Class U. S. Postal Service on the 21st day of July, 2021.



                                                         /s/ Michael E. Gazette
                                                         Michael E. Gazette


t:corrydavismarketing/emergencyhrg.req
